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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                       1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                            Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 949



   CERTIFICATE OF NO OBJECTION REGARDING SECOND MONTHLY FEE
 APPLICATION OF WOMBLE BOND DICKINSON (US) LLP COMPENSATION FOR
 SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS CO-COUNSEL
  FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD FROM
        NOVEMBER 1, 2023 TO AND INCLUDING NOVEMBER 30, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the second monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Womble Bond

Dickinson (US) LLP (the “Applicant”) listed on Exhibit A attached hereto. The Monthly

Application was filed with the United States Bankruptcy Court for the District of Delaware (the

“Court”) on February 5, 2024. The undersigned further certifies that they have reviewed the

Court’s docket in this case and no answer, objection or other responsive pleading to the Monthly

Application appears thereon. Pursuant to the Notice of Fee Application filed with the Monthly

Application, objections to the Monthly Application were to be filed and served no later than

February 26, 2024 at 4:00 p.m. (ET). The Monthly Application was filed and served in

accordance with the Order Establishing Procedures for Interim Compensation and




          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


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Reimbursement of Expenses for Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”).

        Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: February 28, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
 WOMBLE BOND DICKINSON (US) LLP                     WHITE & CASE LLP
 Donald J. Detweiler (DE Bar No. 3087)              Thomas E Lauria (admitted pro hac vice)
 Morgan L. Patterson (DE Bar No. 5388)              Matthew C. Brown (admitted pro hac vice)
 1313 North Market Street, Suite 1200               Fan B. He (admitted pro hac vice)
 Wilmington, Delaware 19801                         200 South Biscayne Boulevard, Suite 4900
 Telephone: (302) 252-4320                          Miami, FL 33131
 Facsimile: (302) 252-4330                          Telephone: (305) 371-2700
 don.detweiler@wbd-us.com                           tlauria@whitecase.com
 morgan.patterson@wbd-us.com                        mbrown@whitecase.com
                                                    fhe@whitecase.com
 Counsel to the Debtors and Debtors in
 Possession                                         David M. Turetsky (admitted pro hac vice)
                                                    1221 Avenue of the Americas
                                                    New York, NY 10020
                                                    Telephone: (212) 819-8200
                                                    david.turetsky@whitecase.com

                                                    Jason N. Zakia (admitted pro hac vice)
                                                    111 South Wacker Drive, Suite 5100
                                                    Chicago, IL 60606
                                                    Telephone: (312) 881-5400
                                                    jzakia@whitecase.com




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                                           Roberto Kampfner (admitted pro hac vice)
                                           Doah Kim (admitted pro hac vice)
                                           RJ Szuba (admitted pro hac vice)
                                           555 South Flower Street, Suite 2700
                                           Los Angeles, CA 90071
                                           Telephone: (213) 620-7700
                                           rkampfner@whitecase.com
                                           doah.kim@whitecase.com
                                           rj.szuba@whitecase.com

                                           Counsel to Debtors and
                                           Debtors in Possession




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                                                         EXHIBIT A

                                                 Professional Fees and Expenses
                                                    Monthly Fee Application

    Applicant         Fee Application    Total Fees     Total        Objection       Amount of Amount of         Amount of
                       Period, Filing    Requested    Expenses       Deadline:          Fees      Expenses      Holdback Fees
                         Date, D.I.                   Requested                      Authorized Authorized       Requested
                                                                                     to be Paid to be Paid at
                                                                                      @ 80%         100%
 Womble Bond                11/1/23 –    $80,000.00    $51.30         2/26/24        $64,000.00    $51.30        $16,000.00
 Dickinson (US)             11/30/23
      LLP                    D.I. 949




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